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    ELSA GULINO, MAYLING RALPH, PETER WILDS, and NIA GREENE, on behalf of

                          themselves and all others similarly situated,

                                                                           Plaintiffs,

                                                 v.

THE BOARD OF EDUCATION OF THE CITY SCHOOL DISTRICT OF THE CITY OF NEW

                                              YORK,

                                                                           Defendant.

                                 ------------------------------------

                                          96 CIV. 8414



               REPORT AND RECOMMENDATION FOR CLAIMANTS IN
                                NOVEMBER 2021 COHORT
       TO THE HONORABLE KIMBA M. WOOD, United States District Court Judge.


John S. Siffert, SPECIAL MASTER


       For the reasons stated below, I recommend that the Court adopt the Findings of Fact and

Conclusions of Law for those claimants whose awards were reduced to proposed judgments and

submitted by the parties in November 2021, as listed on Exhibit 1 hereto (“November 2021

Cohort”), enter the Proposed Judgments for the November 2021 Cohort submitted as Exhibit 2

and Exhibit 3 hereto, and certify those Proposed Judgments for the November 2021 Cohort as

final and appealable.




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   I.      Background

        The facts of this case are set forth fully in previous opinions by the District Court

over the course of this litigation. See, e.g., Gulino v. Bd. of Educ. of the City Sch. Dist. of the

City of N.Y. (Gulino I), 201 F.R.D. 326 (S.D.N.Y. 2001) (Motley, J.); Gulino v. Bd. of Educ. of

the City Sch. Dist. of the City of N.Y. (Gulino V), 907 F. Supp. 2d 492 (S.D.N.Y. 2012) (Wood,

J.). I recite only those facts relevant to this Report and Recommendation for Claimants in the

November 2021 Cohort.

        From 1994 to 2014, Defendant Board of Education of the City School District of the City

of New York (“Defendant” or “BOE”) required permanent teachers to pass various iterations of

the Liberal Arts and Sciences Test (“LAST”) as a condition of employment, even though the

tests were not properly validated and had a disparate impact on African-American and Latino

teachers. Plaintiffs represent a class of approximately 4,500 African-American and Latino

teachers who lost or were denied permanent teacher positions as a result of this discriminatory

policy. In 2012, the District Court found that Defendant’s use of the LAST violated Title VII,

and in 2013, it certified a remedy-phase class. Since then, the Court enjoined Defendant from

using the test to make hiring decisions and ordered that certain members be deemed certified for

the purposes of BOE hiring decisions.

        The Court appointed me Special Master to oversee the two-stage remedial phase that it

outlined in its Certification Order. That Order directed that the first stage address “classwide

issues, including calculation of backpay, pension benefits, and seniority” and that the second

stage address “individual issues, including mitigation and the amount of backpay to which each

claimant is entitled.” See Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y. (Gulino

VI), No. 96-cv-8414, 2013 WL 4647190, at *6 (S.D.N.Y. Aug. 29, 2013) (Wood, J.).



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   II.      Procedural History

         The Court certified a remedy-phase class of Plaintiffs (See Gulino v. Bd. of Educ. of the

City Sch. Dist. of the City of N.Y., Opinion and Order, No. 96-cv-8414, [ECF No. 386]). The

claimants in the November 2021 Cohort are members of the class and submitted individual

demands for damages by June 2021.

         In accordance with my Order of Appointment (see May 20, 2014 Order of Appointment

[ECF No. 435]; November 12, 2014 Second Amended Order of Appointment [ECF No. 524]), I

submitted Interim Reports and Recommendations (“IRRs”), which the Court has adopted. (See

IRR dated October 24, 2014 [ECF No. 516], Order [ECF No. 536]; IRR dated July 17, 2015

[ECF No. 678], Opinion & Order [ECF No. 674]; IRR dated June 13, 2016 [ECF No. 777],

Order [ECF No. 800]; IRR dated July 15, 2016 [ECF No. 790], Order [ECF No. 826]). The first

two IRRs addressed first-stage classwide issues, including the viability of certain defenses,

Defendant’s burdens on the remaining defenses, and whether backpay awards could be adjusted

on a classwide basis to account for attrition. The third IRR addressed the proper damages model

for calculating class members’ backpay at individual hearings.

         Upon my recommendation, the Court adopted Classwide Conclusions of Law [ECF No.

1008], so ordered a Stipulation of Classwide Facts and Procedures [ECF No. 1009] and a

Stipulation Concerning the Admissibility of Exhibits, and entered into evidence Classwide

Exhibits [ECF No. 1010; ECF No. 4645; ECF No. 5942; ECF No. 8247].

         Prior to the hearings for the claimants in the November 2021 Cohort, Plaintiffs submitted

pre-hearing damages demand charts and exhibits reflecting the basis for each claimant in the

November 2021 Cohort’s damages demands. Defendant submitted responses based on its own

model and expert analysis. The parties’ models incorporated the issues addressed in my prior



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IRRs that previously were adopted by the Court. (See IRR dated October 24, 2014 [ECF No.

516], Order [ECF No. 536]; IRR dated July 17, 2015 [ECF No. 678], Opinion & Order [ECF No.

674]; IRR dated June 13, 2016 [ECF No. 777], Order [ECF No. 800]; IRR dated July 15, 2016

[ECF No. 790], Order [ECF No. 826]). In its response to the claimants in the November 2021

Cohort’s demands, Defendant agreed to raise objections only to aspects of the demands that had

not previously been addressed by these IRRs and the Court’s Orders. Between submitting the

initial pre-hearing damages chart and the hearings for the claimants in the November 2021

Cohort, the parties had multiple opportunities to confer regarding objections. At individual

hearings, I made rulings on remaining objections, and the parties then submitted final pre-

hearing damages charts reflecting their positions.

        Also, in accordance with my Order of Appointment, I held hearings on all the claimants

in the November 2021 Cohort’s demands for damages. At hearings for the claimants in the

November 2021 Cohort, I reviewed the evidence and heard argument with respect to the

claimants in the November 2021 Cohort’s demands for damages and Defendant’s objections to

the same. Following each of those hearings, I circulated a summary to the parties setting forth

the arguments presented by the parties at the hearings and my rulings on each of the issues

raised. The parties were given the opportunity to assert objections or propose edits to the

summaries before they were finalized. The parties have agreed that those conference summaries

accurately set forth the parties’ positions at the hearings and my rulings. The portions of the

summaries relevant to the claimants in the November 2021 Cohort are cited in respective

Exhibits 1 to each of the Proposed Judgments and were submitted as part of the record. See ECF




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No. 4645; ECF No. 4950; ECF No. 5401; ECF No. 5940; ECF No. 6407; ECF No. 6811; ECF

No. 7219; ECF No. 8097.

          Exhibit 1 to each Proposed Judgment for the November 2021 Cohort contains Findings of

Fact and Conclusions of Law. These Findings of Fact and Conclusions of Law were drafted

jointly by the parties with my input and subject to my review. The Parties set forth their

objections to my rulings in the footnotes to the Findings of Fact and Conclusions of Law.

   III.      Agreement of the Parties

          The parties agree that the damages charts, conference summaries, and Findings of Fact

and Conclusions of Law for each claimant in the November 2021 Cohort accurately set forth the

parties’ positions and accurately reflect their objections to my rulings. The parties further agree

that the objections that have been preserved in the record do not need to be re-submitted to the

Court in connection with this Report and Recommendation for the November 2021 Cohort. The

parties agree that the Court may adopt or reject this Report and Recommendation on the basis of

the arguments and objections to the rulings contained in the record. The parties also waive the

timeframe and procedure in the Second Amended Order of Appointment [ECF No. 524] for

submission of their objections, as they agree objections they previously set forth should be

deemed submitted to the Court.

   IV.       Certification of Judgment as Final and Appealable

          Based on my findings and with agreement of the parties, I recommend that the Court

certify the Proposed Judgments for each claimant in the November 2021 Cohort as final and

appealable pursuant to Federal Rule of Civil Procedure 54(b).

          Where, as here, “an action presents more than one claim for relief . . . or when multiple

parties are involved, the court may direct entry of a final judgment as to one or more, but fewer



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than all, claims or parties only if the court expressly determines that there is no just reason for

delay.” Fed. R. Civ. P. 54(b). “The determination of whether to grant Rule 54(b) certification is

committed to the discretion of the district court and will be set aside only for an abuse of

discretion.” Hogan v. Consolidated Rail Corp., 961 F.2d 1021, 1025 (2d Cir. 1992). The district

court’s discretion, however, is to be exercised sparingly in light of the “‘historic federal policy

against piecemeal appeals.’” Curtiss-Wright Corp. v. General Electric Co., 446 U.S. 1, 8

(1980) (quoting Sears, Roebuck & Co. v. Mackey, 351 U.S. 427, 438 (1956)). Certification

under Rule 54(b) should be granted only “where there are interest[s] of sound judicial

administration and efficiency to be served, or . . . where there exists some danger of hardship or

injustice through delay which would be alleviated by immediate appeal.” Hogan, 961 F.2d at

1025 (internal quotation marks and citations omitted).

       The parties agree, and I recommend that the Court find, that there are multiple claims and

numerous class members in this case and that when the Court enters each judgment for the

November 2021 Cohort, each claim will have been finally decided. The parties also agree, and I

recommend that the Court find, that certification is in the interest of sound judicial

administration and there is a danger of unusual injustice through delay. This case has been

pending for more than 24 years. At its current pace, where Defendant is reserving the right to

contest the damages demands of each class member at individual hearings, it will take more than

a year before judgments are entered for all class members.

       Certification will serve the interests of judicial economy. Rule 54(b) certification of this

judgment will begin the time to take an immediate appeal. This Court previously certified

judgments for other class members, which Defendant appealed, and the Court of Appeals for the

Second Circuit recently affirmed those judgments for 347 class members. See Gulino v. Bd. of



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Educ. of the City Sch. Dist. of the City of N.Y. (Munoz), 841 Fed. Appx. 310 (2d. Cir. Jan. 28,

2021) (Summary Order) (affirming judgments), rehrg denied, Index No. 19-1162, Dkt. 268 (2d.

Cir. Apr. 14, 2021). Certification of the judgments for the November 2021 Cohort will allow for

any individual issues to be addressed in subsequent appeals. Certification of the judgments for

the November 2021 Cohort will also mitigate the hardship that otherwise would be caused by

delaying the finality of each claimant’s judgment. This case has been pending for over 24 years,

and the issue of liability was fully determined more than eight years ago. Some class members

already are retired, some are medically challenged, some are in financial need, and some have

died. Class members who will be adjudged to be entitled to backpay, disability benefits, and

pension payments will suffer hardship if their judgments are not certified. It would be unjust to

make the class members wait for the completion of all of the individual hearings before their

individual judgments are final and to delay the class members’ receipt of the amount that is

finally adjudged to be due to them.

        Similarly, certification will relieve Defendant from the hardship facing an inchoate

contingent liability without knowing how much actually will be owed as a result of this case. In

addition, the ability promptly to enter judgments will cut off millions of dollars of additional

backpay damages that otherwise will accrue, and that Defendant otherwise will have to pay if

judgments are delayed.

   V.      Conclusion

        For the foregoing reasons and for the reasons contained in the record, I recommend that

the Court adopt the Findings of Fact and Conclusions of Law for the claimants in the November

2021 Cohort; direct the Clerk of the Court to enter the Proposed Judgments for the November

2021 Cohort submitted herewith; expressly determine that there is no just reason for delay; and



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certify the Proposed Judgments for the November 2021 Cohort as final and appealable pursuant

to Federal Rule of Civil Procedure 54(b).



Dated: New York, New York                   ________________________________
       November 26, 2021
                                                  JOHN S. SIFFERT
                                                  Special Master




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